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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     AUGUSTA DIVISION


UNITED STATES OF AMERICA,

                                                        Case No. 1:15CR77




GEORGE CARTER,

Defendant.



                                            ORDER



       Motion for leave of absence having been filed by counsel Hank Crane and counsel having

shown no proceedings scheduled for this case during the time period sought for leave, it is

hereby ORDERED that counsel's request for leave is HEREBY GRANTED for the period of

June 2,2016 through and including June 3,2016 and June 27,2016 through and including July

1,2016.

       SO ORDERED this /ffi^day of May, 2016, at Augusta, Georgia.



                                             HON. J. RANDAL HALL
                                             UNITEDySTATES DISTRICT COURT
                                            "SOTJTHERN DISTRICT OF GEORGIA
